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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

WHOLESALE SCREENING SOLUTIONS                   )
LLC,                                            )
                                                )
              Plaintiff,                        )
                                                )
       v.                                       )   Case No. 3:20-cv-158-RLY-MPB
                                                )
CRIMINAL RESEARCH AND                           )
INVESTIGATIONS, INC., LAUREN                    )
ZULUAGA, STACI LAIRD ZULUAGA, and               )
DEBRA KELLER,                                   )
                                                )
              Defendants,                       )
                                                )
                                                )
CRIMINAL RESEARCH AND                           )
INVESTIGATIONS, INC., LAUREN                    )
ZULUAGA, STACI LAIRD ZULUAGA, and               )
DEBRA KELLER,                                   )
                                                )
              Third-Party Plaintiffs,           )
                                                )
       v.                                       )
                                                )
REFERENCE SERVICES, INC., DAVID A.              )
STINNETT, AND THE STINNETT                      )
FAMILY TRUST                                    )
                                                )
              Third-Party Defendants.           )

                           DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Criminal Research and

Investigations, Inc., Lauren Zuluaga, Staci Laird Zuluaga, and Debra Keller (collectively “CRI”)

hereby move to dismiss the Complaint filed by Plaintiff Wholesale Screening Solutions, LLC

(“WSS”) in its entirety. CRI’s Motion to Dismiss is based upon the following:
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       1.      “[T]he plaintiff must allege facts that, ‘state a claim to relief that is plausible on

its face.’” Nat’l Fair Hous. All., Inc. v. S.C. Bodner Co., 844 F.Supp.2d 940, 942 (S.D. Ind.

2012) (quoting Ashcroft v. Iqbal, 556 U.S. 662 (2009)).

       2.      WSS failed to state any claim against CRI that is plausible on its face.

       3.      In Count I of the Complaint, WSS attempted to alleged a Racketeer Influenced

and Corrupt Organizations Act (“RICO”) claim against CRI.

       4.      “Congress enacted RICO in an attempt to eradicate organized, long-term criminal

activity.” Midwest Grinding Co v. Spitz, 976 F.2d 1016, 1019 (7th Cir. 1992). To state a RICO

claim, WSS must allege: (1) conduct; (2) of an enterprise; (3) through a pattern; (4) of

racketeering activity. Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 496 (1985).

       5.      WSS did not allege the requisite pattern of continuing criminal activity to support

its RICO claim.

       6.      WSS alleged a single scheme against a competitor, which does not constitute a

RICO pattern and does not state a RICO claim.

       7.      The defects in WSS’s RICO claim cannot be cured and Count I should be

dismissed with prejudice.

       8.      In Count II of the Complaint, WSS attempted to state a Robinson-Patman Act

claim against CRI.

       9.      The Robinson-Patman Act applies only to the sale of goods, not services or

information.

       10.     WSS cannot state a claim under the Robinson-Patman Act. Count II should be

dismissed with prejudice.




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        11.     Because WSS’s alleged federal claims fail and cannot be cured, this Court need

not retain jurisdiction of WSS’s Indiana common law claims. 28 U.S.C. § 1367(c)(3).

        12.     WSS failed to state any Indiana common law claims against CRI.

        13.     In Count III, WSS attempted to allege a tortious interference claim against CRI,

without specifying whether the claim is for tortious interference with contract or tortious

interference with business relationships.

        14.     The elements of tortious interference with a contractual relationship are: 1) the

existence of a valid and enforceable contract; 2) defendant’s knowledge of the contract’s

existence; 3) defendant’s intentional inducement of the breach of the contract; 4) the absence of

justification; and 5) damages resulting therefrom. Fields v. Cummins Employees Fed. Credit

Union, 540 N.E.2d 631, 640–41 (Ind.Ct.App.1989).

        15.     With respect to tortious interference with contract, WSS failed to allege the

existence of any contract.

        16.     The elements of a cause of action for tortious interference with a business

relationship are the same as the elements for interference with a contract except that there is no

requirement that a valid contract exist. Biggs v. Marsh, 446 N.E.2d 977, 983 (Ind.Ct.App.1983).

While a contract is not required, tortious interference with a business relations requires an

additional element that the defendant acted illegally by his interference. Id.

        17.     With respect to tortious interference with a business relationship, WSS failed to

allege any illegal activity.

        18.     Because WSS failed to allege the requisite elements of tortious interference with

contract or tortious interference with a business relationship claim, Count III should be

dismissed.



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       19.       In Count IV, WSS attempted to allege a claim against CRI for common law unfair

competition.

       20.       “Indiana courts have created a cause of action for unfair competition, defined as

‘the attempt to create confusion concerning the source of the unfair competitor’s goods.’”

Felsher v. Univ. of Evansville, 755 N.E.2d 589, 598 (Ind. 2001) (quoting Westward Coach Mfg.

Co. v. Ford Motor Co., 388 F.2d 627, 633 (7th Cir.1968)).

       21.       “This common law tort was historically considered a subspecies of the class of

torts known as tortious interference with business or contractual relations.” Felsher, 755 N.E.2d

at 598 (internal quotation omitted).

       22.       WSS did not allege any confusion as to the source of goods.

       23.       WSS did not allege any tortious interference with business or contractual

relationships.

       24.       Count IV fails to state a claim for unfair competition and should be dismissed.

       For the foregoing reasons, set forth more fully in CRI’s Memorandum in Support of

Motion to Dismiss filed contemporaneously with this Motion, CRI respectfully request that

WSS’s Complaint be dismissed in its entirety. Counts I and II should be dismissed with

prejudice because WSS’s pleading defects cannot be cured. This Court should either decline to

exercise jurisdiction over Counts III and IV or dismiss those claims without prejudice and

without leave to amend.

                                               Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

           I hereby certify that on September 4, 2020, a copy of the foregoing document was filed

electronically. Notice of this filing will be sent to the following parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.

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                                                /s/ Kristina M. Swanson
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